      Case 2:18-cv-03002-HB Document 1-2 Filed 07/18/18 Page 1 of 5
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Diamante Dental Inc.
Paradise Dental Inc.
Dental Empire Inc.
Yefim Aranbayev
Artur Martirosyan
Anna Chistyakova
February 15,2018
Page 2




I.       Seller Parties* Illegal Conduct


As a material inducement to enter into the Purchase Agreements, the Seller Parties, among other
things, represented and warranted that the acquired business and assets fully complied with applicable
laws at all times prior to closing and that there were no facts or issues that could have a material
adverse impact on the acquired business and assets after the closing.

However, after the closing, the Buyers discovered a pattem of systematic fraud and illegal conduct
previously concealed by the Seller Parties, including, but not limited to; (a) illegally billing for
services under Dr. Aranbayev's credentials when such services were rendered by other dentists
(including non-credentialed dentists) and/or on days that Dr. Aranbayev was not even in the office,(b)
illegally billing for more expensive and unnecessary services when a more cost-effective service was
appropriate, and (c) illegally submitting x-rays and other supporting documents from one patient in
order to approve services for a completely separate patient.

The Buyers also discovered that the Seller Parties were illegally falsifying their business records in
order to underpay their dentists and to misclassify staff as contractors, and illegally concealing and/or
destroying Documents and Data(including an Excel spreadsheet containing client, insurer, billing and
other business information that constituted part of the Sale Assets) to cover up their fraud and the
adverse actions of insurers. The Buyers also discovered that insurers (e.g. Avesis and United
Healthcare) were investigating and taking adverse actions against the Seller Parties, the business and
their dentists since at least 2017, and that Avesis had been rejecting substantially all of the submitted
claims or seeking extensive documentation (presumably based on suspicions of fraud) since at least
the summer of2017. However,the Seller Parties knowingly concealed these material matters from the
Buyers.

After the closing and Dental Wizard, P.C.'s engagement of Sellers' dentists and staff, the Buyers
became aware that Avesis terminated the provider agreements with Dr. Aranbayev,Dr. Sinha, and Dr.
Srivastava, who unbeknownst to the Buyers were on probation since 2017. Avesis stated that such
terminated dentists were prohibited from providing services to patients for whom services are
administered by Avesis. Avesis further informed the Buyers that Avesis will never credential any
dentists at the acquired Office Locations. Since Avesis represented an overwhelming majority of the
revenues and profits ofthe acquired business and assets, die Buyers have suffered, and will continue
to suffer, significant and irreparable Damage from the loss of Avesis and its insureds at clients ofthe
Buyers.

Please be advised that the Buyers' investigation is ongoing.
      Case 2:18-cv-03002-HB Document 1-2 Filed 07/18/18 Page 2 of 5
Tinovsky Law Firm pc

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Pages




II.     Legal Claims under Purchase Documents and Applicable Laws


The Seller Parties' fraudulent scheme and other illegal conduct violates numerous provisions of the
Purchase Agreements (including Sections l(a)(v), 4(c), 4(d), 4(e), 4(h), 4(i), 4(j), 4(n), 4(o), 4(p), 4(s)
and 5 ofthe Dental Wizard,P.C. Purchase Agreement)and applicable federal and state laws.

For example, the Buyers may assert claims against the Seller Parties for fraudulent billing and claim
submission practices under the federal False Claims Act, 31 U.S.C. §§3729-3733("FCA"). Under the
FCA,the Seller Parties are liable for three times the amount of damages resulting from the fraud on
federally funded health care programs plus penalties of$5,500 to $11,000 for each false or fraudulent
claim. See 31 U.S.C. 3729(G). Given the pervasive and systematic nature of the Seller Parties'
fraudulent scheme in violation of the FCA, die Buyers have reason to believe that the Seller Parties
conducted, and continue to conduct, themselves in a similarly unlawful manner in their office
locations not covered by the Purchase Agreements, and thus the Seller Parties potentially face liability
under the FCA for all oftheir false claims throughout all oftheir offices(notjust those sold under the
Purchase Agreements).'
Likewise, the Buyers may assert claims under the IRS Whistleblower Law,26 U.S.C. § 7623, against
the Seller Parties based on the Seller Parties' intentional misclassification of employees as
independent contractors in an illegal attempt to avoid paying payroll taxes, unemployment insurance
premiums,and other sums, which overstated the profitability ofthe Seller's business.

Moreover,the Buyers have reason to believe that the Seller Parties unlawfully accessed their computer
systems at the acquired offices in order to delete evidence of their misconduct. The Seller Parties'
unauthorized access ofthe computer systems after the closing violates the federal Computer Fraud and
Abuse Act ("CFAA"). The CFAA authorizes monetary penalties for such violations, including
attomeys' fees and costs. In addition, CFAA §1030(a)(2), §1030(a)(4) and §1030(b) each carry
incarceration penalties including up to five (5) years imprisonment for each violation. S^ CFAA
§1030(c).

The Buyers may also assert claims for or under the federal Racketeer Influenced and Corrupt
Organizations Act (RICO), fraud / fraudulent inducement, civil conspiracy, breach of contract,
indemnification, unjust enrichment,rescission, piercing the corporate veil and others.

' As an example of the seriousness of such or similar false claims and the penalties often levied in
connection therewith. Dr. llya Babiner, a dentist from Bucks County, Pa. has recently been charged
with fifty-five (55) felony charges for submitting false claims for dental services to a medical
assistance program and faces the potential of civil and criminal penalties as well as the loss of his
dental license.
            Case 2:18-cv-03002-HB Document 1-2 Filed 07/18/18 Page 3 of 5
Tinovsky Law Firm

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February 15,2018
Page 4




These claims would entitle the Buyers not only to their actual damages, but also to indirect, special,
consequential, treble, punitive and other damages (e.g. loss of revenues / profits, loss of business
opportunities, reputational damage, etc.), which are estimated to be many times the actual value ofthe
purchase prices paid under the Purchase Agreements.

While the investigation is ongoing, the Buyers estimate that the Seller Parties' liability and
exposure for their unlawful conduct can exceed $3,000.000.

III.     Buyer's Demand for Indemnification and Other Things


In light ofthe foregoing,the Buyers hereby demand:

             1. Indemnification under Section 6 ofthe Purchase Agreements.

             2. Within 7 days ofthe date ofthis letter, the Seller Parties shall deposit $1,000,000 into
                 escrow with counsel for the Buyers on account ofthe indemnification and other claims
                 related to the Purchase Agreements and transactions thereunder.

             3. Within 7 days of the date of this letter, the Seller Parties shall turn over to the Buyers
                any and all Sale Assets, including copies ofany concealed or destroyed patient, billing
                and other business records, in the possession, custody or control of the Seller Parties
                and fully account to Buyers for their unlawful conduct.

             4. Seller Parties and their employees, contractors, advisors, attomeys, accountants,
                agents, affiliates and related parties to immediately preserve any and all Documents
                and Data (as defined below) pertaining to the aforementioned claims and dispute,
                including, without limitation, any and all Documents and Data relating to fi:uudulent
                billings and false claims covered by the federal False Claims Act at all dental offices
                and businesses of the Seller Parties and their affiliates involved with government-
                funded health care programs or reimbursement. The purpose of this demand is to
                ensure that no evidence, or potential evidence, relating to the matters alleged in this
                letter is lost, altered, or destroyed. "Documents and Data" as used herein means not
                only hard copy documents, but also e-mails, messages, word processing documents,
                spreadsheets, databases, electronic patient records, electronic billing records,
                electronic dental software records and data, and other electronically stored
                information. Documents and Data are an important and irreplaceable source of
                discovery and/or evidence, and every reasonable step must be taken to preserve them
                until further notice from my office. Failure to do so could result in civil and/or
                criminal penalties.
           Case 2:18-cv-03002-HB Document 1-2 Filed 07/18/18 Page 4 of 5
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February 15, 2018
Page 5




Notwithstanding the foregoing, the Buyers reserve all their rights and remedies, none of which are
hereby waived. I look forward to your prompt attention to this serious legal matter.

Very truly yours.




Vlad Tinovsky

CC: Leonard Zoftis, Esquire
          Case 2:18-cv-03002-HB Document 1-2 Filed 07/18/18 Page 5 of 5



                                     VERIFICATION


       The undersigned hereby states that: (a) he is authorized to make this verification on

behalf of Plaintiffs, Dental Wizard, P.C., Dental Wizard G PC,and Dental Wizard Holding Inc.;

(b) the statements made in the foregoing Complaint are true and correct to the best of the

undersigned's knowledge, information, and belief; and (c) he understands that the statements

made in this verification are subject to the penalties relating to unsworn falsification to

authorities.




Dated: ijl"?           ,2018
                                          OLEG GENIS,drdy authorized officer of
                                          Plaintiffs, Dental Wizard, P.C., Dental
                                          Wizard G PC,and Dental Wizard Holding, Inc.
